Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

TUM MEM ALI iCem CMe aL pmedgr em erc|o12H

United States Bankruptcy Court for the:

Cocker District of We work.

(Slate) 2
Case number (if known): Chapter /

LJ Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy

If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (If known). For more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is avallable.

06/22

1. Debtor's name Os as Homes LL C

2. All other names debtor used

in the jast 3 years

Include any assumed names,

trade names, and doing business

as names

3. Debtor's federal Employer T _ 2 BO 6 | “y 9

Identification Number (EIN) ee

4. Debtor's address Principal place of business Malling address, if different from principal place
of business
1-15 Me Bede, Shreet

Number Street Number Street
P.O. Box

Vac Rock cw, m1 UG |

City 4 State ZIP Cade City State ZIP Code
Location of principal assets, if different from

Gh principal place of business
LINS

County
Number Street
City State ZIP Code

s. Debtor's website (URL)

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Debtor oa s Homes l C C Case number (i énown)

Name J

6. Type of debtor

‘§f.-corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)}
C) Partnership (excluding LLP)
L) cther. Specify:

7. Describe debtor's business

A. Check one:

( Health Care Business (as defined in 11 U.S.C. § 101(27A))
(single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Railroad (as defined in 14 U.S.C. § 101(44))

C1 Stockbroker (as defined in 11 U.S.C. § 101(53A))

CQ) Commodity Braker (as defined in 11 U.S.C. § 101(6))

QO Clearing Bank (as defined in 11 U.S.C. § 781(3)}

(2 None of the above

B. Check aff that apply:

J Tax-exempt entity (as described in 26 U.S.C. § 501)

CI investment company, including hedge fund or pocled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CJ investment advisor (as defined in 18 U.S.C. § 80b-2(a)(11))
C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor, See
http./Avww.uscourts.govwfour-digit-national-association-naics-codes .

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “smafl business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“smail business debtor must
check the second sub-box.

Check one:

BA. chapter 7

C) Chapter 9
(1 Chapter 11. Check all that apply:

CJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D}, and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1}{B).

LJ The debtor is a debtor as defined in 14 U.S.C. § 1182(1}, its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

(J A pian is being filed with this petition.

U Acceptances of the plan were solicited prepetition from one ar more classes of
creditors, in accordance with 11 U.S.C, § 1126 (0).

C) The debtor is required to file periodic reports (for example, 19K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

(I The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2,

L] Chapter 12

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Debtor

Case 1-29-452Z07-jmm Doc lL

Name

gas Homes, LLC

Case number ¢# known

Filed Osileaizo Entered Os/i2zi25 LoiUUl40

a,

Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

i No
L) Yes.

District
If more than 2 cases, attach a

separate list. District

When

Mus ODS YYYY
When

MM / DD IYYYY

Case number

Case number

10,

Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Jno

QC] Yes.

Debtor

District

Case number, if known

Relationship

When
MM * DD fYYYY

11.

Why is the case filed in this
district?

Check ail that apply:

yi Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

LI) A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12.

Official Form 201

Does the debtor own orhave ‘fd No
possession of any real
property or personal property
that needs immediate
attention?

LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

LJ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CL) it needs to be physically secured or protected from the weather.

CI itinciudes perishable goods or assets thal could quickly deteriorate or lose value without
altention (fer example, jivestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

LJ Other

Where Is the property?

Number Street

City

Is the property insured?

CI Ne
C) Yes.

Insurance agency

State ZIP Code

Contact name

Phone

a Statistical and administrative information

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Case 1-29-452Z07-jmm Doc lL

Debtor Qs as He mes LEC

Name

Case number (i town),

Filed Osileaizo Entered Os/i2zi25 LoiUUl40

13. Debtor's estimation of
available funds

Check one:

LI Funds will be available for distribution to unsecured creditors.
Afler any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of
creditors

Phas
50-99

C) 1,000-5,000
L] 5,001-10,000

CL) 25,901-50,000
Q) 50,001-100,000

165. Estimated assets

Cd 100-199 L) 10,001-25,000 C] More than 100,000
CJ 200-999
C) $0-350,000 L) $1,000,001-$10 million LJ $500,000,001-$1 billion

LJ $50,001-$100,000
®4-$100,001-$500,000
CJ $500,001-$1 million

LJ $10,000,001-$50 million
L) $50,000,001-$100 million
LJ $400,000,001-$500 million

LJ $1,000,000,001-$19 biltion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

16. Estimated liabilities

LI $0-$50,000

CJ $50,001-$100,000
}2i-$100,001-$500,000
LI $500,001-$1 million

LJ $4,000,001-$10 million

L) $10,000,001-850 million
LJ $50,000,001-$100 million
L) $100,000,004-$500 million

CQ) $500,000,001-$1 billion

L] $1,000,000,004-$10 billion
CJ $10,000,000,001-$56 billion
CJ More than $50 billion

a Request for Relie?, Declaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

MMF DD #YyYyYY
a

Signature of authorised representative of debtor

Title Kee Sidewit

Samuel Co hen

Printed name

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Debtor - Qe as Homes l LC Case number (if known}

Nami

48. Signature of attorney x Date
Signature of attorney for debtor MM / OD PYYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page §
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
wrwnyeb.uscourts.goy

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): Las Homes LL C CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

{NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N-Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
i] THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION;:

CASE PENDING: (YES/NO): [if closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

e SCHEDULE A/B: PROPERTY “OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

@ SCHEDULE A/S: ASSETS — REAL PROPERTY “OFFICIAL FORM 2064/6 - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

2. CASE NO.: FUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [2f closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

« SCHEDULE A/B; PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —- PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

« SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

3.

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): if closed| Date of Closing:

CURRENT STATUS OF RELATED CASE:

(Discharged/awaiting discharge, confirmed, dismissed, etc,

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART I (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors, Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

Tam admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

1 certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as
indicated elsewhere on this form.

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner

U-16 We bade Street

Mailing Address of Debtor/Petitioner

Fic Mochawey p¢ MHEG

City, State, Zip Code

£054m O97 @ G meu]. COW?

Email Address

(347) S47 - 3592.

Area Code and Telephone Number

Failure ¢o fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING, Dismissal of your petition may otherwise
result.
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: Case No.

A 94S Homes ULC Chapter ~\ |

Debtor(s)

x

DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): Aa as Homes LLC

Address: WANS We Bade Ste eet, Four Rock esony wy LtéF |
Email Address: cosam 092-7 © gmail. om

Phone Number: (347) S67] - 3Sy a

CHECK THE APPROPRIATE RESPONSES:
FILING FEE:

_~’PAID THE FILING FEE IN FULL

___APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

PREVIOUS CASES FILED: 1. 2. 3.

ASSISTANCE WITH PAPERWORK:
J NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

If Debtor had assistance, the following information must be completed:

Name of individual who assisted:

Address:
Phone Number: ( )
Amount Paid for Assistance: $

I/We hereby declare the information above under the penalty of perjury.

Dated: O04 | inf9.09.2 C BA prewen
mS Debtor’s Signature

Joint Debtor’s Signature
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No.

Chapter “]
Cas Homes LLC

Debtor(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor mattix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 04 Ja pO24

(2-22

Debtor

Joint Debtor

s/
Attorney for Debtor

USBC-44 Rey. 11/15
Case 1-29-452Z07-jmm Doc lL

Aldridge Pite LLP
40 Marcus Drive
Suite 200

Melville, NY 11747

HSBC Bank USA
PO Box 4217
Buffalo, NY 14240

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UUM ER ULC ag Ue] ATT Om a (teders toto

Debtor name Ag as lomes LEC

United States Bankruptcy Court for the: & a3 ter rm

Gase number (if known):

District of flow Yor
(Stated

Official Form 207

() Check if this is an
amended filing

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,

write the debtor’s name and case number (if known).

1. Gross revenue from business

Pavone

may be a calendar year

From the begInning of the

2. Non-business revenue

FRnone

From the beginning of the

Identify the beginning and ending datos of the debtor's fiscal year, which

fiscal year to filing date: From

MM / DDI YYYY
For prior year: From

MMTOD IYYYY
For the year before that: From

MM IBD 7 YYYY

Sources of revenue
Check all that apply

CL) Operating a business

to Filing date (J other

to CL) Operating a business
MM/DDIYYYY O) other

to C) Operating a business
MM/DDIYY TY Q Other

Description of sources of revenue

Gross revenue

(before deductions and
exclusions)

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in fine 1,

Gross revenue from each
source

(before deductions and
exclusions)

fiscal year to filing date: = From to —_ Filing date §

For prior year:

For the year before that:

MM /BDIYYYY

From

MM/BDIYYYY

From

MM/DDIYYYY

to
MM/DD/¥¥YY

to
MMs/DDFYYYY

Official Form 207

Statement of Financlal Affairs for Non-Individuals Filing for Bankruptcy

page t

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Debtor CBAs GS Hom es l C Cc Case number (it inown

Name yf

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular empicyee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

thNone

Creditors name and address Dates Total amount or value Reasons for payment or transfer
Check all that apply
at.
$ CL] Secured debt
Creditors name CJ Unsecured loan repayments
Street ) Suppliers or vendors
C) Services
Cily State ZIP Code QO other
a2.

5 (Secured debt
Creditor’s name (Unsecured foan repayments
Street QO Suppliers or vendors
C] Services
Clty State ZIP Coda O1 other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an Insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not Include any payments listed in line 3. /nsiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
general partners of a partnership debtor and thelr relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).

FA-None

Insider's name and address Dates Total amount or value Reasons for payment or transfer
41.

Insider's name

Street

City State ZIP Code

Relatlonship to debtor

4.2.

Insider's name

Street

City State ZIP Code

Relationship to debtor

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
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Debtor Oe as bone LL C Case number (i krowny

Name a

6. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
xt None

Creditor's name and address Description of the property Date Value of property
54.

Creditor's name

Streot

city State ZIP Code
§.2.

Creditor’s name

Street

City State ZIP Code

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

VA. None

Creditor's name and address Description of the action creditor took Bate action was Amount
taken

Creditors name

Street

Last 4 digits of account number: XXXX-__

Clty State ZIP Code

Ee Legal Actions or Assignments

7, Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

x None

Caso title Nature of case Court or agency’s name and address Status of case
7A. C] Pending
Name UO on appeal
Case number Street E} concluded
City Stale ZIP Cada
Case title : Court or agency’s name and address O Pending
7.2.
LI on appeal
Name
(3 concluded
Case number
Streat
Clty State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor Qaos Howes LEC Case number (i known)
Name /

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before fiting this case.

th None

Custodian’s name and address Description of the property Value
$
Custedian's name
Case title Court name and address
Street
Name
Case number
City State ZIP Code Street
Date of order or assignment
Clty State ZIP Gode

| Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before flling this case unless the aggregate value
of the gifts to that recipient is less than $1,000

ff. None

Reclplent’s name and address Description of the gifts or contributions Dates given Value
3
2.4. Recipient's nama
Street
City State ZIP Code

Recipient's relationship te debtor

9.2. Recipient's name $
Streat
City State ZIP Coda
Recipient's relationship to debtor
Ea Certain Losses
10, All losses from fire, theft, or other casualty within 1 year before filing this case.
ya None
Description of the property lost and how the loss Amount of payments received far the loss Date of loss Value of property
occurred if you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assefs — Real and Personal Property}

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Name

a Certain Payments or Transfers

Debtor Qs aS b, VES LC Cc Case number (itknewn)

11. Payments related to bankruptcy
List any payments of money or other transfers of properly made by the debtor or person acting on behalf of the debtor within 4 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
seeking bankruptcy relief, or filing a bankruptcy case.

ja None

Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
14.1.
5
Address
Street
City State ZIP Code

Email or website address

Who made the paymant, if not debtor?

Who was paid or who received the transfor? If not money, describe any property transferred Dates Fotal amount or
value
11.2.
$
Address
Street
City State ZIP Code

Email or website address

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
a self-settled trust or similar device.
Do not include transfers already listed on this statement.

ya. None

Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value
5
Trustee

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Debtor QO 4a5 H, omeS Lic Case number tif known)

Name J

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trace, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously fisted on this statement.

J. None

Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value
13.1, $
Address
Street
City State ZIP Code

Relationship to debter

Who received transfer?

$
13.2,
Address
Street
Cily State ZIP Code
Relationship to debtor
Previous Locations
14,Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
SE} Does not apply
Address Dates of occupancy
141. From To
Street
Clty State ZIP Code
14.2. From To
Street
City State ZIP Coda

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
Debtor Hs 4§ Ly mes LC Cc

15.1.

Case 1-29-452Z07-jmm Doc lL

Case number (it snown),

Filed Osileaizo Entered Os/i2zi25 LoiUUl40

Health Care Bankruptcles

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facllities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

Mw No. Go to Part 9.
CI Yes. Fill in the information below.

Facility name and address

Nature of the business operation, including type of services the
debtor provides

If debtor provides moals
and housing, number of
patients In debtor's care

Facility name
Steeat Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check ail that apply:
City Stato ZIP Coda O) Electronically
t) Paper
Facility name and address Natura of the business operation, Including type of services the lf debtor provides meats
: debtor provides and housing, number of
patients in debtor's care
Facility name
Street Location where patient records are maintained (if different from facility How are records kept?
address), If electronic, identify any service provider.
Check aif that apply:
City State ZIP Gode UO Electronically

Ena Personally Identifiable Information

16. Does the debtor collect and retain personally identiflable information of customers?
Bwno.

LJ Yes. State the natura of the information collected and retained.

L) Paper

Does the debtor have a privacy policy about that information?

L) No
LI Yes

Yes. Does the debtor serve as plan administrator?

CJ No. Go to Part 10.

L} Yes. Fill In below:
Name of plan

17.Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

A No. Go to Part 10.

Employer identification number of the plan

Has the plan been terminated?

LJ No
CL) Yes

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

page 7

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Case number (known),

gas Aomes LEC

Debtor

Name

j Aueiie Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18, Closed financial accounts
Within 1 year before filing this case, were any financtal accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Inctude checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

JA None

Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, —_ before closing or
or transferred transfer
18.1. XXXX—_ Q Checking _ gg
Name CI savings
Street L) Money market
Q Brokerage
ity Stale ZIP Code CL] other
18.2. XXXX— C] Checking 5
Name C) Savings
Street Q Money market
O Brokerage
Gity State ZIP Code Q) other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

none

20, Off-premises storage

which the debtor does business.

A None

Facility name and addrass

Names of anyone with access to it

Description of the contents

Name

Street

City State ZIP Code

Address

Depository institution name and address Names of anyone with access to It Description of the contents pore ceptor
QI No
Name Q Yes
Street
Address
City State ZIP Code

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in

Does debtor
still have it?

CL} Ne
CI Yes

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

page 8

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor Qo S How eS l ( C Case number gr known)

Name

Ptr) cre Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

fo. None

Owner's name and address Location of the property Description of the property Value
$

Name

Strest

Clty State ZIP Code

Ga Betails About Environmental Information

For the purpose of Part 12, the following definitions apply:

i Environmental law means any statute or governmental regutation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

& Sie means any iocation, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

m Hazardous material means anything that an environmental law defines as hazardous ar toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance. :

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

| No
x Yes. Provide details below.

Case title Court or agency name and address Nature of the case Status of case
C) Pending
Case number Name CY on appeal
Sueet CY concluded
Clty State ZIP Code

23, Has any governmental unit otherwise notified the debtor that the debtor may he liable or patentially liable under or in violation of an
environmental law?

HL No

QC] Yes. Provide details below.

Site name and address ’ Governmental unit name and address Environmental law, if known Date of notice
Name Name

Street Street

City State ZIP Code City State ZiP Code

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 9
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor LN G45 Youn cS Z L C Case number (known)

24.Has the debtor notified any governmental unit of any release of hazardous material?

iM. No

LJ Yes. Provide details below.

Site name and address Governmental unit nama and adress Environmental faw, if known Date of notice
Name Name
Street Street
City State ZIP Code City State ZIP Code

EE Betails About the Debtor's Business or Connections to Any Business

25. Other businesses In which the debtor has or has had an Interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
include this information even if already listed in the Schedules.

‘A. none

Business name and address Describe the nature of the business Empioyor Identification number
Do not include Social Security number or ITIN.
EIN: =
25.4. a
Name Dates business existed
Street
From To
City State ZIP Coda
Business name and address Describe the nature of the business Employer Identification number
25.2, Do ast include Social Security number or ITIN,
EIN;
Name Dates business existed
Street
From To
City State ZIP Code
Businass name and address Describe the nature of the business Employer Identification number
Do notinclude Social Security number or ITIN.
25.3. EIN;
Name
Dates business existed
Street
From To
City Slate ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 10
Debtor

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Oya. Homes L¢ C

Name

Case number ¢rasown)

264.1.

264.2.

26. Books, records, and financial statements
26a, List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case,

}B-None

Name and address

Dates of service

From

To

Name

Street

City State

Name and address

ZIP Code

Dates of service

From

To

Name

Street

City State

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of acco

statement within 2 years before filing this case.

PA.None

Name and address

265.1.

ZIP Code

Dates of service

From

unt and records or prepared a financial

To

Name

Street

Clty Stats

Name and address

ZIP Code

Dates of service

From

To

26b.2,

Name

Streat

City Stale ZIP Code

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

iM None

Name and address IFany books of account and records are

unavailable, explain why

266.1.

Name

Street

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Fillng for Bankruptcy page 14
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor As & S ham ES L¢ C Case number (known)

Name and addrese Kf any books of account and records are
unavailable, exptaln why

266.2.

Name

Street

City State ZIP Cade

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

Danone

Name and address

26d.1.

Name

Street

City State ZIP Code

Name and address

26d.2.

Name

Strest

Gity State ZIP Code

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?
Mt No

L) Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$

Name and address of the person who has possession of inventory records

27.1.

Name

Street

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 12
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor has S Lam CS Lf C Case number (if known),
Name ”

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
Inventory other basis) of each inventory
$

Namo and address of the person who has possession of inventory records

27.2.

Name

Street

City State ZIP Coda

28, List the debtor's officers, directors, managing members, general partners, members In control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if any
interest

29. Within 4 year before the filing of this case, did the debtor have officers, directors, managing members, genera! partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

No
Q) Yes. Identify betow,

Name Address Position and nature of Period during which
any interest pasition or interest was
held
From To
From To
From To
From_ so

30, Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

ja No

LJ Yes. Identify below.

Name and address of recipient Amount of money or Dates Reason for
description and value of providing the value
property

30.4.

Name

Street

City State ZIP Code

Relationship to debtor

Official Form 207 Statement of Financlal Affairs for Non-Individuals Filing for Bankruptcy page 13
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor ans Ay & 5 Hames LC C Case number (iknow)

Name and address of recipient

30.2
Name
Street ee
Gity State ZIP Code eo
Relationship to debtor
31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
No
CD Yes, Identify below.
Name of the parent corporation Employer (dentification number of the parent
corporation
EIN: -

32. Within 6 years before fillng this case, has the debtor as an employer been responsible for contributing to a pension fund?
“No
C) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

EIN: -
a Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money cr property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C, §§ 152, 1941, 1519, and 3571.

| have examined the Information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on i? 202

MM 7 DD/IYYYY

x Cc @ Lx Printed rome tame / Cohen

Signature of individual signing on behalf of the debtor

U
Position or relationship to debtor hesieler t

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
aA No
UL) Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Beem ats Tue tea Pema ML) Pee
gas mes CLC

A 4 .

United States Bankruptcy Court for the: E as ay District of Nevbbr L

(State)

Debtor name

Case number (Hf known):

CJ Check if this is an
amended filing

Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

a Cash and cash equivalents

' 1. Doas the debtor have any cash or cash equivalents?

JN. Go to Part 2,
CL) Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor's
interest

2. Gash on hand $

3. Checking, savings, money market, or financial brokerage accounts (/dentify alf)

Name of institution (bank or brakerage firm) Type of account Last 4 digits of account number
a1. en $
3.2. — —_ $
: 4, Other cash equivalents (Ideniify ali)
: 4A.
4.2, $

i §. Total of Part 1
: Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

i
fa Deposits and prepayments
: 6. Does the debtor have any deposits or prepayments?

No, Go to Part 3.

CQ) Yes. Fill in the information below.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits

Description, Including name of holder of deposit

TA. $

Secret secnrsoec tenn ete serene She ASL ALLOWS SAMAR, LN AE

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor Ms as Lf, 6 HES CC CC Case number uf known),

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, Including name of holder of prapayment

8.1. $

6.2. $
: 9, Total of Part 2. $ em
: Add lines 7 through 8. Copy the total to iine 81.

Accounts receivable

. 10, Does the debtor have any accounts receivable?
& No. Ga to Part 4.
CI Yes. Fill in the information below,
Current value of debtor’s

interest
: 11. Accounts receivable
11a. 90 days old or less: - = seein > $
face amount doubtful or uncollectible accounts
11b, Over 90 days old: - = eee > $
face amount doubtful or uncollectible accounts
| 12. Total of Part 3 § O
: Current value on lines 11a + 11b = line 12. Copy the total to line 82.
Investments
' 13. Does the debtor own any investments?
No. Go to Part 5.
LI Yes. Fill in the information below.
Valuation method Current value of debtor's

used for current value interest

: 14. Mutual funds or publicly traded stocks not included in Part 1

Name of fund or stock:
14.1, $
14.2, $

7 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
: including any interest in an LLC, partnership, or joint venture

Name of entity: % of ownership:
15.1, % $
16.2, % $

: 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
; instruments not included in Part 4

Describe:

16.1, $

16.2, $
_ 17. Total of Part 4 $ £?
: Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 2
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor 5 Ages Homes LL C Case number orknowa)

Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
“No, Go to Part 6.
CL) Yes. Fill in the information below.

General description Date of the last Netbook value of Valuation mathod used Current value of
physical inventory debtor's interest for current value debtor’s interest

(Where available)

' 49. Raw materials

MM /DDTYYYY $ $
: 20. Work in progress

MM /DDSYYYY $ §
; 21. Finished goods, including goods held for resale
MM /DDFYYYY $ $
22. Other inventory or supplies
MM / DDI VYYY $ $
i 23. Total of Part 5 $ {>
Add lines 19 through 22, Copy the total to line 84.
24, Is any of the property listed in Part 5 perishable?
: QO so
: LY Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
LI No
L) Yes. Book value Valuation method Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
: QO) no
i O Yes

Eo Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land}?
lo. Go to Part 7.

CY Yes. Fill in the information below.

General description Net book value of = Valuation method used Current value of debtor's |
debtor's interest for current value interest i

(Where available)
' 28. Crops—either planted or harvested

: § $
: 29. Farm animals Examples: Livestock, poultry, farm-raised fish
$ $
30. Farm machinery and equipment (Other than titled motor vehicles)
$ $
31. Farm and fishing supplies, chemicals, and feed
g §
i 32. Other farming and fishing-related property not already listed in Part 6
§ $

Official Form 206A/B Schedule AIB: Assets — Real and Personal Property page 3
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor ane As GS 4, ? w CS Ll C Case number ¢tmown)

: 33. Total of Part 6. § >
Add lines 28 through 32. Copy the total to line 85.
34. Is the debtor a member of an agricultural cooperative?
C1 No
CI Yes. Is any of the debtor's property stored at the cooperative?
CY No
: Ld Yes
- 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
QQ no
Cl Yes. Book value $ Valuation method Current value $
: 36. Is a depreciation schedule available for any of the property listed in Part 67
LJ No
L] Yes
: 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
LI No
C} ves
Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
ino. Go to Part 8.
(I Yes. Fill in the information below.
General description Net book value of Valuation method Current value of debtor's
debtor's interest used for current value interest
(Where available)
39. Office furniture
§ $
40. Office fixtures
$ $
41. Office equipment, including all computer equipment and
: communication systems equipment and software
$ $
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
: artwork; books, pictures, or cther art objects; china and crystal; stamp, coin,
or baseball card collactions; other collections, memorabilia, or collectibles
42,4 $ $
42.2 § $
42.3 § $
| 43. Total of Part 7. 7)
Add lines 39 through 42. Copy the total to line 86, §
44, Is a depreciation schedule available for any of the property listed in Part 77
Ld No
i L) ves
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
i CL) No
i L) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 4
Debtor Qe 4S be hes L¢ C Case number (itkoown),

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Name

a Machinery, equipment, and vehicles

> 46,

Does the debtor own or lease any machinery, equipmont, or vehicles?

A-no. Go to Part 9.

LJ Yes. Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value

Include year, make, model, and identification numbers (i.e., VIN,
y ( (Where available)

HIN, or N-number}

Current value of
debtor's interest

_ 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
474 $ $
47.2 $ $
47.3 $ $
47.4 $ 5
48. Watercraft, trailers, motors, and related accessories Examples: Boats,
trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 § $
48.2 § $
’ 49. Aircraft and accessories
49.1 $ $
49.2 § $
50. Other machinery, fixtures, and equipment {excluding farm
machinery and equipment)
$ $
51. Total of Part 8. $ ©
Add lines 47 through 50. Copy the total to line 87.
: 52. Is a depreciation schedule available for any of the property listed in Part 8?
Jt No
L] Yes
- 63. Has any of the property listed in Part 8 been appraised by a professional within the last year?
No
L) Yes
Official Form 2064/B Schedule A/B: Assets — Real and Personal Property page 5
Case 1-29-452Z07-jmm Doc lL

Debtor

Gaas Homes LEC
a Real property

Case number (if keown)

Filed Osileaizo Entered Os/i2zi25 LoiUUl40

, 54. Does the debtor own or lease any real property?
[F}.No. Go to Part 10.

Yes. Fill in the information below.

56. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Nature and extent
of debtor’s interest
In property

Description and location of property

Include street address or other description such as
Assessor Parcel Number (APN), and type of property
(for example, acreage, factory, warehouse, apartment
or office bullding}, If avallable.

ss de /5 MoBride & For Lilinayh/ Ub 100%

Net book value of
debtor's interest

(Where available)

3.500 , COD .C&

Valuation method used
for current value

BPO

Current vaiue of
debtor's interest

3.900, 06, OTD

56.2 $ $
56.3 $ $
55.4 $ $
55.5 5 $
55.6 4 $
: 56. Total of Part 9.
Add the current value on lines 5.1 through 55.6 and entries from any additional sheets. Copy the total to line 88. § G00, 000, 0

: 57. Isa depreciation schedule available for any of the property listed in Part 9?

LJ No
L} Yes

58. Has any of the property listed in Part $ been appraised by a professional within the last year?

LI No
L] Yes

Sx Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?

No. Go to Part 11.
L] Yes. Fill in the information below.

General description

60. Patents, copyrights, trademarks, and trade secrets

Net book value of
debtor's interest

(Where available)

Valuation method

used for current value

Current value of
debtor’s interest

i 65. Goodwill

$ $
61. Internet domain names and websites
$ §
62. Licenses, franchises, and royalties
: $ 5
63, Customer lists, mailing lists, or other compilations
§ $
64. Other intangibles, or intellectual property 5 :
$ $

! 66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property

page 6

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Nama

Dabtor G4 s Homes COC Caso number (F known)

67. Do your lists or records include personally Identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A} and 10737
O No
: L) Yes
- 68. Is there an amortization or other similar schedule available for any of the property listed in Part 107
O) No
QO Yes
_ 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
LJ No
C) Yes

aS Ail other assets

. 70. Does the debtor own any other assets that have not yet been reported on this form?
Include ail interests in executory contracts and unexpired leases not previously reported on this form.
No. Go to Part 12.

(J Yes. Fill in the information below.

Current value of
debtor’s interest

_ 71. Notes receivable
Description {include name of obligor)

_ =>
Total face amount doubtful or uncollactible amount 8
72. Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year 5
Tax year 5
Tax year $
73. Interests in insurance policies or annuities
$
: 74, Causes of action against third parties (whether or not a lawsuit
i has been filed)
5
Nature of claim
Amount requested $
75, Other contingent and unliquidated claims or causes of action of
: every nature, including counterclaims of the debtor and rights to
set off claims
3
Nature of claim
Amount requested $
| 76. Trusts, equitable or future interests in property
: §
: 77. Other property of any kind not already listed Examples: Season tickets,
country club membership
$
$
78. Total of Part 11. é)
Add lines 71 through 77. Copy the total to line 90. $
' 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
LI No
O) Yes

Official Form 206A/B Schedule AJB: Assets — Real and Personal Property page 7

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor mal AQas Yo mes CLC

In Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.
84.

85.

86

87.

88.

89,

90,

91.

92.

Official Form 206A/B

Case number tf known},

Type of property

Cash, cash equivalents, and financial assets. Copy fine 5, Part 7.

Deposits and prepayments. Copy fine 9, Part 2.

Accounts receivable. Copy fine 72, Part 3.

Investments. Copy fine 17, Part 4.
Inventory. Copy fine 23, Part 6.

Farming and fishing-related assets. Copy fine 33, Part 6.

. Office furniture, fixtures, and equipment; and collectibtes.

Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 57, Paré 8.

Real property. Copy lite 56, Part 9... cecssssssssssssesstsssstesscssessenersesssssseesnensesesssnsesescssenanes

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 17.

Total. Add lines 80 through 90 for each COLUMN. 0.0... sessecerseneees

91a.

Current value of Current value
personal property of real property
g >
$ ©
¢ ©
; D
$ Oo
e
5 O
; O
; 0
> $500,000.00
gy ©
O
+

Total of all property on Schedule AJB. Lines 914 + 91D = 92. occ csssccscsentcessecssssesseessaneaneneustcscosseeseevevevaucaenenscatntanes

Schedule A/B: Assets — Real and Personal Property

page 8

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

; bai ital EPR eT oun Tea Rect H

Debtor name Qs 4s Homee ZC C

United States Bankruptcy Court for the: E G ste rr District of i Y

(Stated
Case number (If known): Chapter

(J Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

jdl-No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to repert on this form.

CI] Yes. Fil in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B).

2. List all contracts and unexpired leases _ State the name and mailing address for afl other parties with
whom the debtor has an executory contract or unexpired lease

State what the contract or
2.1; lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

| State what the contract or
2.2; lease Is for and the nature
! of the debtor’s interest

State the term remalning

List the contract number of
any government contract

: State what the contract or
2.3: lease is for and the nature
| of the debtor's Interest

State the term remaining

List the contract number of
any government contract

24) State what the contract or
lease is for and the nature
of the debtor's Interest

State the term remaining

List the contract number of
any government contract

| State what the contract or
2.5; lease is for and the nature

| of the debtor's interest
end

State the term remaining

List the contract number of
any government contract

Official Form 2066 Schedule G: Executory Contracts and Unexpired Leases page 1 ot_t
Case 1-25-45203-JMM DVocl Filed Oyiléics

SPEER cu a nese

Debtor Nt Ss Aomes lt C

a
United States Bankruptcy Court for the:

Laste CP distiict of Afw

Case number

(State)

{If known}

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

entered Os/i2i25 LoiQUli40

Q) Check if this is an
amended filing

12/15

Be as complete and accurate as possible. Use Part 1 for creditors
unsecured claims. List the other party to any executory contract

with PRIORITY unsecured clalms and Part 2 for creditors with NONPRIORITY

S or unexpired leases that could result ina claim. Also list executory contracts

on Schedule A/B: Assets - Real and Personat Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases

{Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach

the Additional Page of that Part included in this form.

Ea Elst All Creditors with PRIORITY Unsecured Claims

No, Go to Part 2.
CL) Yes. Go to line 2,

1. Doany creditors have priority unsecured claims? (See 11 U.S.C. § 507).

2. List in alphabetical order ail creditors who have unsecured claims that are

3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

entitled te priority in whole or in part. If the debtor has more than

Date or dates debt was incurred

Last 4 digits of account
number

Specify Code subsection of PRIGRITY unsecured
claim: 11 U.S.C. § 507(a) ¢ )

Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: $ $
Check alf that apply.
CI Contingent
CF unliquidated
() Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number ee QC No
. . C Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( }
Fy Priority creditor's name and mailing address As of the petition filing date, the claim is: $ 5
Check all that apply.
C1] Contingent
CO) unliquidated
CJ Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 diglts of account Is the claim subject to offset?
number oe QO) No
. C) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a} { }
Priority creditor's name and mailing address As of the petition filing date, the claim is: $ $

Check all that apply.
C1 Contingent
C) Unliquidated
C) Disputed

Basis for the claim:

Is the claim subject ta offset?
CL No
UO Yes

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of yo

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Case number (it known)

Debtor — Gas Hones Lc

Nai

i List All Creditors with NONPRIORITY Unsecured Claims

unsecured claims, fill out and attach the Additional Page of Part 2.

3.4] Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim Is:
Check all that apply.

Contingent
O Unliquidated
Disputed

Basis for the claim:

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

Amount of clain

Is the claim subject to offset?
UL No
C) Yes

3.2| Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim Is:
Check all that apply.

() Contingent
O1 unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?
L] No
C] Yes

3.3| Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition fillng date, the claim is:
Check ail that apply.

Q) contingent

CQ] Unliquidated

(J Disputed

Basis for the claim:

Is the claim subject to offset?
EL No
O Yes

3.4] Nonpriority creditor's name and matlling address

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent
Q) unliquidated
O) Disputed

Basis for the claim:

Is the claim subject to offset?
E] No
OQ) Yes

3.5| Nonpricrity creditor's name and mailing address

Date or dates debt was Incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check ail that apply.

Q] Contingent

Cl unliquidated

O Disputed

Basis for the ciaim:

Is the claim subject to offset?
1 No
UO yes

3.4] Nonpricrity creditor's name and mailing address

Date or dates debt was incurred

As of the petition filing date, the claim is:
Check all that apply.
Q Contingent
) unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?

O No
Last 4 digits of account number _ Ol Yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 2—of uy
Debtor

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Claas Homes LLC

Name

List Others to Be Notified About Unsecured Claims

oe :

4.1.

4.2.

4.3.

4.4,

41.

4,5.

4.6,

4.7.

4.8.

4.9.

Case number urinowny

Name and mailing address

On which line in Part 1 or Part 2 is the
related creditor (if any} listed?

Line

Not listed.

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed In Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Explain

Last 4 digits of
account number, If
any

Not listed

. Explain

Not listed.

Explain

Not listed.

Explain

Not listed

. Explain

Not listed.

Explain

Not listed.

Explain

Not listed.

Explain

Not listed.

Explain

Not fisted

. Explain

4.10.

Not listed.

Explain

4.41.

Line

Not listed.

Explain

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pages of y
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor Q S as bh ne UL C Case number (known)

Nam

im Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

5a. Total claims from Part 1 Sa. $ ©

5b. Total claims from Part 2 5b. + §

Sc. Total of Parts 1 and 2 « : (>
Lines Sa + 5b = 5c.

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page q ot Uf
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

TA ark nem eee

Debtor nama Has Home sti

United States Bankrtptey Court forthe: _ #” asde rf

District of hewSork

(State)

Casa number (If known):

CI Check if this is an
amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

12/15

1. Do any creditors have claims secured by debtor's property?

O No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
Q) Yes. Fill in all of the information below.

ne List Creditors Who Have Secured Claims

Marge Ate LP

Creditor's mailing address

Yn Macevs Brave Site Qero

Describe debtor's property that is subject to a lien

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one Column A Cofumn B
secured claim, list the creditor separately for each claim. Amount of claim Value of collateral
Do not deduct the value that supports this
of collateral, claim

34 TENE Yom ¢ $00,600.00

UNAS fe Bride Sree

fe lville 424 {£247 —

Creditor's email address, if known

Date debt was Incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the

same property?

tno

OF vos. Specify each creditor, including this creditor,
and its relative priority.

Describe the Hen 44

ota 6.9-2-
Is the creditor an insider or related party?
No

Ct yes

Is anyone else liable on this claim?
Sd-no
CD Yes. Fill out Schedule H: Codebfors {Official Form 206H)}.

As of the potition filling date, the claim is:
Check all that apply.

O Contingent
Unliquidated
Disputed

ER] Creditor’s name

Describe debtor's property that is subject to a lien

Page, if any.

$ 3
Craditor’s malling address
Describe the lien
Creditor's email address, if known Is the creditor an Insider or related party?
UO No
Yes
Date debt was incurred is anyone else liable on this claim?
we 1 No
Last 4 digits of account CI Yes, Fill out Schedule H: Cadebtors (Official Form 2064).
number ee
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
O No CO Contingent
(3 Yes. Have you already specified the relative CQ] unliquidated
priority? Disputed
C) No. Specify each craditor, Including this
creditor, and its relative priority.
C) Yes, The relative priority of creditors is
spocified on lines
3. Total of tho dollar amounts from Part 1, Column A, including the amounts from the Additional $

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2

Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

Debtor bs éS Home ¢ Z C C Case number (itknown

List Others to Be Notified for a Deht Already Listed in Part 4

List in alphabetical order any others who must be notified for a debt already fisted in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If ne others need to be notified fer the debts listed In Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 Last 4 digits of
did you enter the account number
related creditor? for this entity

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2,

Line 2.

Line 2.

Line 2.

Line 2,

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 2 of @
Case 1-25-45203-JMM DVocl Filed Oyiléics

NUTR uhm ea

Debtor name

United States Bankruptcy Court for the:

District of Mu York

(State)

Case number (If known):

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

entered Os/i2i25 LoiQUli40

C) Check if this is an
amended filing

125

rey summary of Assets

1. Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
ia. Real property:
Copy line 88 from Schedule A/B

1b. Total personal property:
Copy line 914 from Schedule A/B.....cesc

$500, 000.00

ic. Total of all proparty:
Copy line 92 from Schedule A/B..........

Ee Summary of Liabilities

?
$
$ S00,00.e0

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the totaf dollar amount listed in Colum A, Amount of claim, fromline 3 of Schedute D.

sIII ME YS

3. Schedule E/F; Creditors Who Have Unsecured Claims(Ofiicial Form 206E/F)

3a, Total claim amounts of priority unsecured claims:
Copy the total claims fromPart 1 fromline 5a of Schedule EF..........

3b. Total am ount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F

4. Total liabilities...

Lines 2+ 3a+ 3b

Official Form 206Sum Sum mary of Assets and Liabilities for Non-Individuals

page 1
Case 1-25-45203-JMM DVocl Filed Ov/léices Entered Vsilaizo 19/00740

lai muy Tue TCL mL ered

Debtor name A g as Homes LLC .
United States Bankruptcy Court for the: Faster rr District of pew York’

(State)

Case number (If known):

LJ Check if this is an

Official Form 206H amended filing
Schedule H: Codebtors ats

Be as complete and accurate as possible. if more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

4. Does the debtor have any codebtors?
No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
C) Yes
2, in Column 4, list as codebtors all of the people or entities who are also fiable for any debts listed by the debtor in the schedules of
creditors, Sehedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is istad, if the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
Column 1: Gedebtor Cofumn 2: Creditor
Name Mailing address Name thotap ay noaules
2.1 OD
Steet O E/F
OG
Clty State ZIP Code
2.2
ob
Stract QO E/F
aG
City State ZIP Code
2.3
OD
Street QO EF
OG
; City State ZIP Code
i
! 24
: OD
Street QO EMF
| uG
|
City State ZIP Code
25
uD
Street QO EF
OG
City State ZIP Code
26
, QD
i Street Q EF
oG
City State ZIP Code

Official Form 206H Schedule H: Codebtors page 1 of |
